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U NI T E D S T A T E S DI S T RI C T C O U R T
S O U T H E R N D I S T RI C T O F N E W Y O R K

------------------------------------- X
S E T C A PI T A L L L C, et al., I n di vi d u all y                                                                J ul y 20,
                                                                                                                     July   2 0, 2021
                                                                                                                                 2021
a n d o n B e h alf of All Ot h e rs Si mil a rl y Sit u at e d,
                                                                                            1 8- c v - 0 2 2 6 8-A T -S N
                                                Pl ai ntiffs ,
                                                                                CI VI L C A S E M A N A G E M E N T
                       - a g ai nst-                                         P L A N A N D S C H E D U LI N G O R D E R
C   R E DI T S UI S S E G R O U P A G, C R E DI T
S   UI S S E A G, C R E DI T S UI S S E
I   N T E R N A TI O N A L, TI D J A N E T HI A M,
D   A VI D R. M A T H E R S, J A N U S H E N D E R S O N
G   R O U P P L C, J A N U S I N D E X &
C   A L C U L A TI O N S E R VI C E S L L C, a n d
J   A N U S DI S T RI B U T O R S L L C d/ b/ a/ J A N U S
H   E N D E R S O N DI S T RI B U T O R S,

                           D ef e n d a nts .
------------------------------------- X

S A R A H N E T B U R N , U nit e d St at es            M agist r at e J u d g e:

           T his Ci vil C as e M a n a g e m e nt Pl a n (t h e “ Pl a n ”) is s u b mitt e d b y t h e p arti es 1 i n
 a c c or d a n c e wit h R ul e2 6(f)( 3), F e d. R. Ci v. P.

 1.        All p arti es d o n ot c o ns e nt t o c o n d u cti n g all f urt h er pr o c e e di n gs b ef or e a m a gistr at e j u d g e,
           i n cl u di n g m oti o ns a n d tri al. 2 8 U. S. C. § 6 3 6( c). T h e p arti es ar e fr e e t o wit h h ol d c o ns e nt
           wit h o ut a d v ers e s u bst a nt i v e c o ns e q u e n c es.

 2.        T his c as e is t o b e tri e d t o a j ur y.

 3.        A m e n d e d pl e a di n gs m a y n ot b e fil e d a n d a d diti o n al p arti es m a y n ot b e j oi n e d e x c e pt wit h
           l e a v e of t h e C o urt. E x c e pt f or g o o d c a us e, a n y m oti o n t o a m e n d or t o j oi n a d diti o n al
           p arti es s h all b e fil e d wit hi n 3 0 d a ys aft er t h e d e a dli n e f or t h e s u bst a nti al c o m pl eti o n of
           d o c u m e nt dis c o v er y.

 4.        I niti al dis cl os ur es, p urs u a nt t o R ul e 2 6( a)( 1), F e d. R.        Ci v. P., s h all b e c o m pl et e d n ot
           l at er t h a n 1 4 d a ys fr o m t h e d at e of t his Or d er.



       1
         T h e p arti es f or p ur p os es of t his sti p ul ati o n ar e pl ai ntiffs a n d Cr e dit S uiss e Gr o u p A G,
Cr e dit S uiss e A G, Cr e dit S uiss e I nt er n ati o n al, Ti dj a n e T hi a m a n d D a vi d R. M at h ers.
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 5.   D ef e n d a nts s h all fil e t h eir A ns w er(s) t o t h e C o m pl ai nt n o l at er t h a n J ul y 2, 2 0 2 1.

6.    All m oti o ns a n d a p pli c ati o ns s h all b e g o v er n e d b y t h e C o urt’s I n di vi d u al Pr a cti c es,
      i n cl u di n g pr e- m oti o n c o nf er e n c e r e q uir e m e nts, e x c e pt t h at m oti o ns i n li mi n e m a y b e
      m a d e wit h o ut a pr e- m oti o n c o nf er e n c e.

 7.   All f a ct dis c o v er y s h all b e c o m pl et e d n o l at er t h a n S e pt e m b er 1 7, 2 0 2 2.

 8.   T h e p arti es ar e t o c o n d u ct dis c o v er y i n a c c or d a n c e wit h t h e F e d er al R ul es of Ci vil
      Pr o c e d ur e a n d t h e L o c al R ul es of t h e S o ut h er n Distri ct of N e w Y or k. T h e f oll o wi n g
      i nt eri m d e a dli n es m a y b e e xt e n d e d b y t h e writt e n c o ns e nt of all p arti es wit h o ut
      a p pli c ati o n t o t h e C o urt, pr o vi d e d t h at all f a ct dis c o v er y is c o m pl et e d b y t h e d at e s et f ort h
      i n p ar a gr a p h 7 a b o v e:

      a.   Pr ot e cti v e or d er a n d E SI pr ot o c ol t o b e a gr e e d u p o n b y t h e p arti es b y J u n e 1 8, 2 0 2 1.

      b.   Pr o d u cti o n of all d o c u m e nts pr e vi o usl y pr o d u c e d t o t h e S E C or FI N R A i n c o n n e cti o n
           wit h t h e all e g ati o ns i n t h e C o m pl ai nt (i. e., c o n c er ni n g XI V E x c h a n g e Tr a d e d N ot es)
           s h all b e pr o d u c e d b y J u n e 3 0, 2 0 2 1.

      c.   B y S e pt e m b er 3 0 , 2 0 2 1, t h e p arti es will m e et a n d c o nf er r e g ar di n g t h e c as e s c h e d ul e ,
           i n cl u di n g w h et h er t o pr o c e e d wit h t h e d at es a gr e e d t o b el o w a n d w h et h er t o pri oriti z e
           c ert ai n ar e as of dis c o v er y.

      d.   I niti al r e q u ests f or pr o d u cti o n of d o c u m e nts s h all b e s er v e d b y O ct o b er 1 5, 2 0 2 1.

      e.   S u bst a nti al c o m pl eti o n of all d at a pr o d u cti o n b y F e br u ar y 1, 2 0 2 2.

      f.   S u bst a nti al c o m pl eti o n of all d o c u m e nt dis c o v er y b y A pril 2 1, 2 0 2 2.

      g.   I nt err o g at ori es s h all b e s er v e d b y J ul y 2 9, 2 0 2 2.

      h.   R e q u ests t o A d mit s h all b e s er v e d n o l at er t h a n J ul y 2 9, 2 0 2 2.

      i.   D e p ositi o ns t o b e c o m pl et e d b y S e pt e m b er 1 7, 2 0 2 2.

 9.   Cl ass C ertifi c ati o n Bri efi n g a n d E x p ert R e p orts

      a.   Cl ass c ertifi c ati o n m oti o n a n d o p e ni n g e x p ert r e p ort (s) s h all b e fil e d b y M a y       4, 2 0 2 2.

      b.   Cl ass c ertifi c ati o n o p p ositi o n bri ef a n d e x p ert o p p ositi o n r e p ort (s) s h all b e fil e d b y
           J ul y 1 5, 2 0 2 2.

      c.   Cl ass c ertifi c ati o n r e pl y bri ef a n d e x p ert r e b utt al r e p ort(s) s h all b e fil e d b y S e pt e m b er
           1 6, 2 0 2 2.




                                                                 2
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1 0.   E x p ert Dis c o v er y:

       a.   T h e p art y wit h t h e b ur d e n of pr o of o n a s u bj e ct s h all i d e ntif y t h eir e x p ert (s) a n d t h e
            t o pi c(s) u p o n w hi c h t h e y will t estif y n o l at er t h a n S e pt e m b er 2 4, 2 0 2 2.

       b.   E x p ert r e p ort(s) of t h e p art y wit h t h e b ur d e n of pr o of s h all b e fil e d n o l at er t h a n
            S e pt e m b er 2 9, 2 0 2 2.

       c.   E x p ert o p p ositi o n r e p ort(s) s h all b e fil e d n o l at er t h a n D e c e m b er 1 6, 2 0 2 2.

       d.   E x p ert r e b utt al r e p ort(s) s h all b e fil e d n o l at er t h a n J a n u ar y 1 4, 2 0 2 3.

       e.   E x p ert d e p ositi o ns t o b e c o m pl et e d b y F e br u ar y 1 7, 2 0 2 3.

       f.   All e x p ert dis c o v er y s h all b e c o m pl et e d n o l at er t h a n F e br u ar y 1 7, 2 0 2 3.

1 1.   S u m m ar y J u d g m e nt:

       a.   All m oti o ns f or s u m m ar y j u d g m e nt s h all b e fil e d n o l at er t h a n M ar c h         3, 2 0 23.

       b.   O p p ositi o ns t o m oti o ns f or s u m m ar y j u d g m e nt s h all b e fil e d n o l at er t h a n A pril 1 4,
            2 0 2 3.

       c.   R e pl y bri efs i n f urt h er s u p p ort of s u m m ar y j u d g m e nt s h all b e fil e d n o l at er t h a n M a y
            5, 2 0 2 3.

1 2.   All c o u ns el m ust m e et f a c e -t o-f a c e or vi a Z o o m f or at l e ast o n e h o ur t o dis c uss s ettl e m e nt
       wit hi n f o urt e e n ( 1 4) d a ys f oll o wi n g t h e cl os e of f a ct dis c o v er y.

1 3.   a.          C o uns el f or t h e p arti es h a v e dis c uss e d a n i nf or m al e x c h a n g e of i nf or m ati o n i n ai d
       of a n e arl y s ettl e m e nt of t his c as e a n d h a v e a gr e e d t o p urs u e dis c ussi o ns a n d s h ar e
       i nf or m ati o n p urs u a nt t o F R E 4 0 8 a n d will dis c uss w h et h er a n e arl y s ettl e m e nt of t h e
       m att er is a p pr o pri at e.

       b.          C o u ns el f or t h e p arti es h a v e dis c uss e d t h e us e of t h e f oll o wi n g alt er n ati v e dis p ut e
       r es ol uti o n m e c h a nis ms f or us e i n t his c as e: (i) a s ettl e m e nt c o nf er e n c e b ef or e a m a gistr at e
       j u d g e; (ii) p arti ci p ati o n i n t h e Distri ct’s M e di ati o n Pr o gr a m; a n d/ or (iii) r et e nti o n of a
       pri v at el y r et ai n e d m e di at or. C o u ns el f or t h e p arti es pr o p os e t h e f oll o wi n g alt er n ati v e
       dis p ut e r es ol uti o n m e c h a nis m f or t his c as e: N/ A

       c.          C o u ns el f or t h e p arti es r e c o m m e n d t h at t h e alt er n ati v e dis p ut e r es ol uti o n
       m e c h a nis m d esi g n at e d i n p ar a gr a p h b, b e e m pl o y e d at t h e f oll o wi n g p oi nt i n t h e c as e
       (e. g . wit hi n t h e n e xt si xt y d a ys; aft er t h e d e p ositi o n of pl ai ntiff is c o m pl et e d (s p e cif y
       d at e); aft er t h e cl os e of f a ct dis c o v er y) N/ A

       d.          T h e us e of a n y alt er n ati v e dis p ut e r es ol uti o n m e c h a nis m d o es n ot st a y or m o dif y
       a n y d at e i n t his Or d er.




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1 4.      T h e Fi n al Pr etri al S u b missi o n D at e is t hirt y ( 3 0) d a ys f oll o wi n g t h e cl os e of f a ct
          a n d e x p ert dis c o v er y ( w hi c h e v er is l at er). B y t h e Fi n al Pr etri al S u b missi o n D at e, t h e
          p arti es s h all s u b mit a J oi nt Pr etri al Or d er pr e p ar e d i n a c c or d a n c e wit h t h e C o urt’s
          I n di vi d u al Pr a cti c es a n d R ul e 2 6( a)( 3), F e d. R. Ci v. P. A n y m oti o ns i n li mi n e s h all b e fil e d
          aft er t h e cl os e of dis c o v er y a n d b ef or e t h e Fi n al Pr etri al S u b missi o n D at e a n d t h e pr e-
          m oti o n c o nf er e n c e r e q uir e m e nt is w ai v e d f or a n y s u c h m oti o n.If t his a cti o n is t o b e tri e d
          b ef or e a j ur y, pr o p os e d v oir dir e q u esti o ns, j ur y i nstr u cti o ns a n d v er di ct f or m s h all als o
          b e fil e d b y t h e Fi n al Pr etri al S u b missi o n D at e. C o u ns el ar e r e q uir e d t o m e et a n d c o nf er
          o n a j oi nt s u b missi o n of pr o p os e d j ur y i nstr u cti o ns a n d v er di ct f or m, n oti n g a n y p oi nts of
          dis a gr e e m e nt i n t h e j oi nt s u b missi o n. J ur y i nstr u cti o ns m a y n ot b e s u b mitt e d aft er t h e
          Fi n al Pr etri al S u b missi o n D at e, u nl ess t h e y m e et t h e st a n d ar d of R ul e 5 1( a)( 2)( A), F e d. R.
          Ci v. P. If t his a cti o n is t o b e tri e d t o t h e C o urt, pr o p os e d fi n di n gs of f a ct a n d c o n cl usi o ns
          of l a w s h o ul d b e s u b mitt e d b yt h e Fi n al Pr etri al S u b missi o n D at e.

1 5.      C o u ns el f or t h e p arti es h a v e c o nf err e d a n d t h eir pr es e nt b est esti m at e of t h e l e n gt h
          of tri al is t w o w e e ks.

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T O B E C O M P L E T E D B Y T H E C O U R T:

T h e Pl a n h as b e e n r e vi e w e d b y t h e C o urt a n d, e x c e pt as m o difi e d, is a d o pt e d as t h e S c h e d uli n g
Or d er of t his C o urt i n a c c or d a n c e wit h R ul e 1 6( b), F e d. R. Ci v. P.

1 6.      A st at u s l ett er is d u e t o t h e C o urt n o l at er t h a n S e pt e m b er 3 0, 2 0 2 1.

1 7.      T h e p arti es s h all r e a c h o ut t o J u d g e T orr es’s C h a m b ers t o s c h e d ul e t h e n e xt C as e
          M a n a g e m e nt C o nf er e n c e .

1 8.      T h e p arti es ar e dir e ct e d t o fil e a j oi nt st at us r e p ort n ot l at er t h a n o n e w e e k i n a d v a n c e of
          t h e C as e M a n a g e m e nt C o nf er e n c e. T h e p arti es s h o ul d i n di c at e w h et h er t h e y a nti ci p at e
          fili n g m oti o n(s) for s u m m ar y j u d g m e nt a n d w h et h er t h e y b eli e v e t h e c as e s h o ul d b e
          r ef err e d t o a M a gistr at e J u d g e f or s ettl e m e nt dis c ussi o ns. T h e p arti es ar e r e mi n d e d t h at,
          p urs u a nt t o p ar a gr a p h 8, a pr e- m oti o n c o nf er e n c e r e q u est f or a n y m oti o n f or s u m m ar y
          j u d g m e nt m ust b e m a d e wit hi n f o urt e e n ( 1 4) d a ys of t h e cl os e of f a ct dis c o v er y.

T his O R D E R m a y n ot b e m o difi e d or t h e d at es h er ei n e xt e n d e d, e x c e pt b y f urt h er or d er of t his
C o urt f or g o o d c a us e s h o w n. A n y a p pli c ati o n t o m o dif y or e xt e n d t h e d at es h er ei n ( e x c e pt as
n ot e d i n p ar a gr a p h 6) s h all b e m a d e i n a writt e n a p pli c ati o n i n a c c or d a n c e wit h p ar a gr a p h I. B. of
t h e C o urt’s I n di vi d u al Pr a cti c es a n d s h all b e m a d e n o l ess t h a n fi v e ( 5) d a ys pri or t o t h e
e x pir ati o n of t h e d at e s o u g ht t o b e e xt e n d e d.

S O O R D E R E D.



D a t e d: J ul y 2 0, 2 0 2 1
           N e w Y or k, N e w Y or k


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